Case 19-11466-MFW   Doc 4849   Filed 09/07/23   Page 1 of 7
Case 19-11466-MFW   Doc 4849   Filed 09/07/23   Page 2 of 7

                    EXHIBIT A
                               Case 19-11466-MFW                  Doc 4849      Filed 09/07/23   Page 3 of 7
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Page 1 of 3
                               Case 19-11466-MFW                  Doc 4849      Filed 09/07/23   Page 4 of 7
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Page 2 of 3
                               Case 19-11466-MFW                  Doc 4849        Filed 09/07/23      Page 5 of 7
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                                                                                             Parties Served: 124




Page 3 of 3
Case 19-11466-MFW   Doc 4849   Filed 09/07/23   Page 6 of 7




                     EXHIBIT B
                                Case 19-11466-MFW            Doc 4849       Filed 09/07/23     Page 7 of 7
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Page 1 of 1
